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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                  Plaintiff,                             4:11CR3086

vs.
                                              MEMORANDUM AND ORDER
RUBEN CARRILLO-CASTELLON,

                  Defendant.


       This matter is before the Court on Castellon's pro se motion to dismiss
the indictment in his case. Filing 115. The Court previously construed
Castellon's motion as one to vacate, set aside, or correct a sentence under 28
U.S.C. § 2255, and gave Castellon the opportunity to withdraw or amend his
motion. See, filing 117; Castro v. United States, 540 U.S. 375, 382–83 (2003);
Melton v. United States, 359 F.3d 855, 857 (7th Cir. 2004). Castellon has not
responded, and his motion is now ripe for consideration. For the reasons
discussed below, Castellon's motion will be denied.
       Castellon pleaded guilty, pursuant to a plea agreement, to count 1 of an
indictment charging him with conspiring to distribute 50 grams or more of a
mixture or substance containing a detectable amount of methamphetamine,
in violation of 21 U.S.C. §§ 841(a)(1) and 846. See filings 1; 43; 44; 45; 48; and
51. Castellon's offense was punishable by 5 to 40 years' imprisonment. §
841(b)(1)(B)(viii). Castellon was informed of this before entering his plea. See,
filing at 43 at 4; filing 44 at 3. On February 1, 2012, Senior United States
District Judge Richard G. Kopf sentenced Castellon to 87 months'
imprisonment. Filing 84. Castellon filed a notice of appeal on June 18, 2012,
which was dismissed as untimely. See filings 102 through 110. Thereafter,
Castellon filed the present motion to dismiss the indictment under which he
was convicted. Filing 115.
       Castellon argues that the indictment failed to provide him with notice
of the crime charged and the possible penalties, in violation of his due process
rights, and Apprendi v. New Jersey, 530 U.S. 466 (2000), and that the Court
therefore lacked jurisdiction to sentence him. He also asserts that § 841(b),
which sets forth penalties for violations of § 841(a), is facially
unconstitutional under Apprendi.
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       All of these arguments are without merit, but Castellon's challenge
fails for a more basic reason. Castellon previously waived the right to appeal
or collaterally attack his conviction and sentence, with limited exceptions not
applicable here. In his plea agreement, Castellon agreed that he

      knowingly and expressly waives any and all rights to appeal the
      defendant's conviction and sentence, including any restitution
      order in this case, including a waiver of all motions, defenses, and
      objections which the defendant could assert to the charges or to
      the Court's entry of Judgment against the defendant, and
      including review pursuant to 18 U.S.C. § 3742 of any sentence
      imposed.
            The defendant further knowingly and expressly waives any
      and all rights to contest the defendant's conviction and sentence
      in any post-conviction proceedings, including any proceedings
      under 28 U.S.C. § 2255, except:

            (a) The right to timely challenge the defendant's conviction
      and the sentence of the Court should the Eighth Circuit Court of
      Appeals or the United States Supreme Court later find that the
      charge to which the defendant is agreeing to plead guilty fails to
      state a crime.
            (b) The right to seek post conviction relief based on
      ineffective assistance of counsel, or prosecutorial misconduct, if
      the grounds for such claim could not be known by the defendant
      at the time the Defendant enters the guilty plea contemplated by
      this plea agreement.

Filing 44 at 6–7. Neither of the narrow exceptions apply in this case.
       The Court sees no reason the waiver should not be upheld. As a general
rule, a defendant may waive his right to appeal or raise collateral attacks in a
plea agreement. Ackerland v. United States, 633 F.3d 698, 701 (8th Cir.
2011); United States v. Van Nguyen, 602 F.3d 886, 893 (8th Cir. 2010). Such a
waiver is enforceable, provided (1) the defendant knowingly and voluntarily
waived his right to appeal; (2) the issues the defendant wishes to appeal fall
within the scope of the waiver; and (3) enforcement of the waiver would not
result in a miscarriage of justice. Ackerland, 633 F.3d at 701. When
conducting this inquiry, the government bears the burdens of proof and
persuasion. See United States v. Sisco, 576 F.3d 791, 795 (8th Cir. 2009). And
any ambiguities in a waiver must be construed against the government. Id.


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      The Court finds the waiver is enforceable in this instance. Castellon
has not even alleged that his plea or decision to enter into the plea agreement
were anything but voluntary and knowing. Nor does the record contain even
the slightest suggestion to the contrary. At the change of plea hearing,
Castellon agreed he was satisfied with his representation and that he
understood the rights he was waiving by pleading guilty. Filing 48 at 9–22.
He also stated that he understood he was waiving his right to challenge his
conviction and sentence except in the circumstances listed above. Filing 48 at
19–22. As to the second factor, the issues Castellon wishes to appeal relate to
his conviction and sentence, and hence fall within the scope of his waiver.
And he has given the Court no reason to believe that enforcement of the
waiver would result in a miscarriage of justice. In short, the Court finds that
Castellon has waived his challenge to the indictment and that his motion
should be dismissed.
      And in any event, Castellon's arguments are all without substantive
merit. He first argues that the indictment failed to provide him with fair
notice of the type and amount of drugs he was charged with, and thus the
applicable penalties. But the indictment against Castellon provided precisely
that information. It charged him with distribution, or possession with the
intent to distribute "50 grams or more of a mixture or substance containing a
detectable amount of methamphetamine, its salts, isomers, and salts of its
isomers . . . in violation of Title 21 United States Code, Sections 841(a)(1) and
841(b)(1)." This was a sufficient description of the charge brought against
Castellon. See United States v. Nelson-Rodriguez, 319 F.3d 12, 44–45 (1st Cir.
2003). This also disposes of his argument that the indictment failed to give
him notice in violation of due process. Nor, as Castellon alleges, was the
indictment "wholly silent of [sic] Section 841(b)." Section 841(b)(1), which sets
forth the minimum and maximum sentences for certain quantities of drugs,
was clearly referenced in the indictment.
      Castellon also argues that the indictment was defective under
Apprendi. But he has not articulated a coherent argument based upon
Apprendi. Under the line of cases beginning with Apprendi, a judge may not
impose a sentence beyond the maximum authorized by the facts reflected in a
jury verdict or established by a plea of guilty. More specifically, any fact
(other than a prior conviction) which is necessary to support a sentence
exceeding the maximum authorized by the facts reflected in the jury verdict
or established by a plea of guilty must be admitted by the defendant or
proved to a jury beyond a reasonable doubt. United States v. Booker, 543 U.S.
220, 244 (2005); Blakely v. Washington, 542 U.S. 296, 303 (2004).
      Castellon does not argue that his sentence was imposed in excess of the
facts established by his plea of guilty. Nor could he. In both his plea

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agreement and petition to enter a plea of guilty, and at his change of plea
hearing, he acknowledged that he conspired to distribute between 50 and 150
grams of actual methamphetamine. Filing 43 at 8; filing 44 at 2–3; filing 48
at 18–19, 27. Defendant instead appears to be asserting a violation of his
right under the Fifth Amendment to be tried on felony charges returned by a
grand jury indictment. See, U.S. CONST. Amend. V; Jones v. United States,
526 U.S. 227, 232 (1999); Stirone v. United States, 361 U.S. 212, 217 (1960).
But as the Court has already found, there was nothing invalid in the
indictment.
      Finally, Castellon argues that the penalty provisions of 21 U.S.C. §
841(b) are facially unconstitutional, but the arguments he relies upon have
been rejected by every court to consider the matter. See, e.g., United States v.
Buckland, 289 F.3d 558 (9th Cir. 2002) (en banc); United States v. Woods, 270
F.3d 728 (8th Cir. 2001); McCoy v. United States, 266 F.3d 1245, 1248–50
(11th Cir. 2001); United States v. Slaughter, 238 F.3d 580 (5th Cir. 2000).
      In short, Castellon's arguments are without merit, and more to the
point, he has waived the right to bring this § 2255 motion. Accordingly,

      IT IS ORDERED:

      1.    Castellon's pro se motion to dismiss the indictment in his case
            (filing 115), which the Court has construed as a motion to vacate,
            set aside, or correct a sentence under 28 U.S.C. § 2255, is denied;

      2.    A separate judgment will be entered; and

      3.    The Clerk is directed to mail a copy of this memorandum and
            order to the defendant at his last known address.

      Dated this 4th day of January, 2013.

                                           BY THE COURT:



                                           John M. Gerrard
                                           United States District Judge




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